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                                       IN THE UNITED STATES DISTRICT COURT
                                       FOR THE EASTERN DISTRICT OF VIRGINIA

     APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
                                       CRIMINAL RULE 57.4
                  In Case Number _______________,
                                      19-CV-921      Case Name ______________________________
                                                                 Dyer v. TSA
                  Party Represented by Applicant: ___________________________________________
                                                   Dustin Dyer

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

                                                     PERSONAL STATEMENT

FULL NAME (no initials, please) ____________________________________________________________________________
                                     Jonathan Corbett
Bar Identification Number ________________
                            325608             State ________________
                                                      CA
Firm Name ______________________________________________________________________________________________
             Jonathan Corbett
Firm Phone # ________________________
                 (310) 684-3870             Direct Dial # __________________________
                                                           (310) 684-3870            FAX # ________________________
                                                                                             (310) 684-3870
E-Mail Address __________________________________________________________________________________________
                   jon@corbettrights.com
Office Mailing Address ____________________________________________________________________________________
                          958 N. Western Ave. #765, Hollywood, CA 90029

Name(s) of federal court(s) in which I have been admitted _________________________________________________________
                                                           C.D. Cal., CA2, CA9

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

I hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

I am ____ am not ____
                  x a full-time employee of the United States of America, and if so, request exemption from the admission fee.
                                                                             _______________________________________
                                                                                     (Applicant’s Signature)

I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant’s personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.

                                                   __________________________________________
                                                                       /s/                                     _____________
                                                                                                                12/11/2019
                                                   (Signature)                                                 (Date)
                                                   __________________________________________
                                                                   Dustin Dyer                                 _____________
                                                           (Typed or Printed Name)                             (VA Bar Number)
Court Use Only:

Clerk’s Fee Paid ________ or Exemption Granted ________

The motion for admission is GRANTED ________ or DENIED ________



                         ________________________________________                            __________________________
                         (Judge’s Signature)                                                 (Date)
